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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


 KIMBERLY A. NEGRON, et al.


               Plaintiffs,                            Civil No. 3:16-cv-1702 (JAM)
        v.
                                                      Oral Argument Requested
 CIGNA HEALTH AND LIFE INSURANCE
 COMPANY, et al.


               Defendants.



        DEFENDANT CIGNA HEALTH AND LIFE INSURANCE COMPANY’S
               MOTION FOR PARTIAL SUMMARY JUDGMENT

       Defendant Cigna Health and Life Insurance Company, by and through its undersigned

counsel, hereby moves this Court for an order granting partial summary judgment on both of

Plaintiffs’ claims under the Racketeer Influenced and Corrupt Organizations Act, as alleged in

Counts VII and VIII of the Second Amended Consolidated Complaint, pursuant to Rule 56 of the

Federal Rules of Civil Procedure and Local Rule 56.


Dated: March 18, 2022                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 18, 2022, the foregoing was filed with the Clerk of the Court

using the CM/ECF system and served upon all counsel of record.



                                                            /s/ Brian Shaffer
                                                            Brian W. Shaffer
